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P|aintl`ff

VS.
CFt. NO. 04-20448-B

N|Ol\/ll JENN|FER JA|V|ES, LAV|TA lVl. HARVEY,
DAl\/||EN PAYNE, DAN|EL CURRY,

Defendants.

 

OFtDEFl ON CONTINUANCE AND SPEC|FY|NG PEFl|OD OF EXCLUDABLE DELAY
AND SETT|NG\

 

This cause came on for a report date on April 25, 2005. At that time, counsel for the
defendant requested a continuance of the lVlay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a r_e_pgrt
date of Tuesdav, Nlav 31, 2005. at 9:30 a.m., in Courtroom 1. ttth Floor of the Federa|
Building, |Vlemphis, TN.

The period from Niay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends otjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

n is so oaoEan this ZG<D` da ` prn, 2005.

 

J A lEL BREEN \
NlT o sTATEs DlsTFilcT JLJDGE

  
  

Thts document entered on the docket sheet/ix

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Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

DeWun R. Settle

LAW OFFICE OF DEWUN SETTLE
100 N. Main Building

Ste. 3001

1\/1emphis7 TN 38103

Michael EdWin Scholl

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

1\/1emphis7 TN 38103--238

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

1\/1emphis7 TN 38103

Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

1\/1emphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

